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  8                                 UNITED STATES DISTRICT COURT
  9                               SOUTHERN DISTRICT OF CALIFORNIA
 10    UNITED STATES OF AMERICA,                                  CASE NO. 00cr1242 JM
 11                                           Plaintiff,          ORDER DENYING MOTION
               vs.                                                FOR APPOINTMENT OF
 12                                                               ADDITIONAL COUNSEL
       HUMBERTO IRIBE,
 13
                                            Defendant.
 14
 15           Defendant moves for the appointment of additional counsel to assist him in defending this case.
 16   The Criminal Justice Act plan adopted by the Southern District of California provides that other than
 17   capital cases, the only circumstances under which a defendant may be appointed more than one
 18   attorney is where a case is “determined by the court to be extremely difficult.” General Order No.
 19   499.
 20           Defendant argues that this is an extremely difficult and extraordinary case because: (1) co-
 21   defendants in this case filed over forty pretrial motions and co-defendant Bailey continues to pursue
 22   her case in the Ninth Circuit; (2) the case involves “unusual aspect[s] of international law;” (3) the
 23   case involves conduct that occurred in the Republic of Mexico; (4) the Government has produced over
 24   7,000 pages of discovery, 170 audio tapes, and further discovery is anticipated; (5) discovery in this
 25   case requires professional legal knowledge; (6) trial of co-defendants took fifteen days; (7) defendant
 26   faces a lengthy sentence; (8) the case may present interesting legal issues as the final overt act is
 27   alleged to be the murder of Mr. Richard Post; and (9) defendant’s exposure to criminal liability is
 28   “difficult to predict.”    (Motion at p.2:11 - p.3:16). Defendant also requests the appointment of


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  1   Mr. Carroll to assist him in this case.
  2           The court concludes that the identified grounds are insufficient to establish that this is the type
  3   of extremely difficult case warranting the appointment of two attorneys. The court notes that co-
  4   defendant’s counsel confronted many of the same issues confronted by defendant’s counsel and did
  5   so without the assistance of a second attorney; many of the international law related issues have
  6   already been addressed by the court and parties; the occurrence of events in the Republic of Mexico
  7   does not overly complicate this case; the amount of discovery produced in this case is relatively
  8   modest; discovery in criminal cases routinely requires professional legal knowledge; a fifteen- day
  9   trial is not overly burdensome; all defendants in this case faced lengthy sentences; the case does
 10   present interesting legal issues; and criminal liability is frequently difficult to predict. On this record,
 11   while presenting some complex issues, the complexity and degree of difficulty simply do not rise to
 12   an extremely difficult level warranting the appointment of second counsel.
 13           In sum, the motion for appointment of additional counsel is denied.
 14           IT IS SO ORDERED.
 15   DATED: March 22, 2007
 16
                                                                 Hon. Jeffrey T. Miller
 17                                                            United States District Judge
 18
 19   cc: All Parties
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